  Case 19-09015       Doc 23     Filed 08/02/19 Entered 08/02/19 15:22:55           Desc Main
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                 IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                      PROCEEDING MEMO AND ORDER

IN RE:                                       )
                                             )     Chapter 7
VEROBLUE FARMS USA, INC.,                    )
                                             )
        Debtor.                              )     Bankruptcy No. 18-01297
---------------------------------------------
VEROBLUE FARMS USA, INC., )
                                              )
        Plaintiff,                            )    Adversary No. 19-9015
vs.                                           )
                                              )
CASSELS BROCK &                               )
BLACKWELL LLP,                                )
        Defendant.                            )

Date of Hearing: August 2, 2019

APPEARANCES:

For Plaintiff:        Dan Childers and Robert Lang
For Defendant:        Brandon Schwartz and Michael Schwartz

NATURE OF PROCEEDING:                      In Court     X Telephonic

 Motion to Strike and to Seal Portions of Complaint

IT IS ORDERED THAT:

That the Complaint will be put under seal for a period of 60 days from the date of hearing. At that
time, this can be reset for a status conference upon request of either party. Further, Defendant is
directed to answer the Complaint in full within 14 days of the date of hearing.
                      August 2, 2019
Dated and Entered ________________________



                                               ____
                                              Thad J. Collins, Bankruptcy Judge
